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14
                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16    JENNY LISETTE FLORES; et al.,               Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                                  JOINT STATUS REPORT
19
                   v.

20    WILLIAM P. BARR, Attorney General
21
      of the United States; et al.,

22
              Defendants.
23

24

25

26
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 1
              On April 10, 2020, the Court ordered the parties to meet and confer regarding
 2
     “(1) certain disclosures, including information regarding existence of COVID-19
 3
     infection among Class Members, that should be provided to minors’ immigration
 4
     counsel; and (2) the quality of the data that Defendants provide to Class Counsel
 5
     pursuant to Paragraph 28A of the FSA.” ECF No. 768 at 4. The Court further ordered
 6
     the parties to provide a joint status report regarding their efforts to meet and confer
 7
     no later than April 23, 2020. In accordance with the Court’s order, the Parties provide
 8
     the following joint status report.
 9
           (1) Certain disclosures, including information regarding existence of COVID-19
10
               infection among Class Members, that should be provided to minors’
11             immigration counsel
12            Plaintiffs’ Position:
13
              On April 16, 2020, Plaintiffs requested ORR meet and confer regarding
14
     providing class members’ individual legal counsel the following:
15
      1)      When clients develop symptoms of, or are suspected of having contracted,
16
              COVID-19;
17
     2)       When clients have been tested for COVID-19 and the results of such tests;
18
     3)       When the facility in which clients are placed experiences an outbreak of
19
              COVID-19;
20
     4)       When a facility determines that clients are at heightened risk of serious
21
              illness or death should they contract COVID-19, such as children with
22
              diabetes or cancer; and
23
     5)       When ORR adopts or changes its policies or practices for responding to the
24
              COVID-19 pandemic.
25
              On April 21, 2020, the Parties met and conferred. Defendants stated that
26
     ORR had yet to decide whether it would voluntarily disclose any of the requested
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 1
     information.
 2         But as they argue below, Defendants (1) argue that ORR is not in fact
 3   withholding information from class members’ counsel; and (2) that even if it were,
 4   the Court has no authority to enjoin such withholding because the Settlement does
 5   not provide for such disclosure.
 6         As regards Defendants’ first point, a plethora of legal services providers
 7   have declared that ORR is in fact becoming less and less forthcoming with respect
 8   to policies and information regarding the threat and impacts of COVID-19 on their
 9   clients. See, e.g., Declaration of Hannah Flamm (Doc. #759-8) ¶ 16 (“The Door
10   has not received any formal COVID-related guidance directly from ORR
11   regarding any changes in policies affecting the safety, welfare, and release of our
12   clients to their sponsors. The most comprehensive, formal, COVID-related
13   guidance we have seen has come from ORR’s court filings in response to the
14   Lucas R. and Flores temporary restraining order motions, . . .”); Declaration of
15   Claudia Cubas (Doc. #759-3) ¶ 10 (“ORR has not provided clear guidance
16   regarding the release of unaccompanied immigrant children during this pandemic.
17   I am not clear in what circumstances release will be delayed due to COVID-19
18   related issues, or in what circumstances we can expect the release process to
19   proceed as per usual.”); Declaration of Anthony Enriquez (Doc. #759-4) ¶ 13
20   (“ORR is not providing information to us about the reason for the delay in release
21   of these children so we have no way of knowing if it is related to a blanket policy

22   or the individualized circumstances of a child.”); Declaration of Elisa Gahng

23   (Doc. 759-5) ¶ 24) (Cayuga facility refuses to indentify children in quarantine “so

24
     KIND has not been able to talk to the children to hear whether they have been

25
     appropriately quarantined according to local and state officials' guidance.”);

26
     Declaration of Maria Bocanegra (Doc. 759-11) ¶ 8 (“Up until April 7, 2020, ORR
     had not shared official guidance regarding the release of unaccompanied
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     immigrant children during this pandemic.”), and ¶ 10 (“On April 2, 2020, we
 2   became aware that more than one staff from Baytown had tested positive for
 3   COVID-19, which seemed to explain the stop placement directive. To be clear, we
 4   were not contacted by anyone from ORR and/or the facility to inform us of this
 5   development about the staff who tested positive. To the contrary, we only learned
 6   of the situation as a result of a report on the nightly news.”).
 7         Even assuming, arguendo, all these reports are wrong, the Court’s ordering
 8   ORR to provide basic information to children’s lawyers could do no harm. de
 9   Jesus Ortega Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (“The
10   Defendants cannot be harmed by an order enjoining an action they will not take.”);
11   Polo Fashions, Inc. v. Dick Bruhn, Inc., 793 F.2d 1132, 1135 (9th Cir. 1986)
12   (same).
13         As for Defendants’ second point, this Court has repeatedly required
14   Defendants to produce information and data beyond what the Settlement itself
15   requires in order to ensure that Defendants comply with the agreement. See, e.g.,
16   Order, March 28, 2020 (Doc. #740) at 14. Indeed, the Court has expressly
17   authorized the Indepenent Monitor to require such disclosures as she may think
18   necessary to verify ORR’s compliance with the Settlement and this Court’s order
19   enforcing it.
20         On April 14, 2020, Plaintiffs asked the Independent Monitor to direct
21   Defendants to produce information that would illuminate the adequacy of their

22   efforts to reduce congregate detention of class members during the COVID-19

23   pandemic, whether by releasing them without unnecessary delay or transferring

24
     them to “safe and sanitary,” non-congregate placements. Plaintiffs sought the

25
     following:

26
     1)    Policies and practices aimed at preventing the spread of COVID-19 to
           children in congregate placement.
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     2)    Measures taken to expedite the release of class members to parents and other
 2         available custodians during the COVID-19 health emergency, including any
 3         changes to fingerprinting and home study policies or practices.
 4   3)    The capacity of ORR and ICE congregate facilities as established by state or
 5         local licensing authorities and the current population of class members
 6         placed at each such facility.
 7   4)    The number of non-congregate beds ORR and ICE has available, the number
 8         of class members in non-congregate placement, and a description of ORR’s
 9         and ICE’s efforts to increase the number of non-congregate beds during the
10         COVID-19 public health emergency.
11   5)    ORR and ICE policies and practices for testing children in congregate
12         facilities and congregate facility staff for COVID-19.
13   6)    The number of children and staff tested for COVID-19, the facilities at
14         which they are placed or work, the date of testing, and whether tests have
15         come back positive, negative, or results remain pending.
16   7)    A summary of what action ORR and ICE have taken in response to positive
17         test results for COVID-19 among children or staff at congregate facilities:
18         i.e., whether and how many class members have been (a) transferred to other
19         facilities; (b) released to sponsors; (c) isolated or quarantined in in lieu of
20         release or transfer; and (d) whether and how many staff members have been
21         suspended from having further contact with class members after having

22         tested positive and how such suspensions have impacted child:staff ratios.

23   8)    With respect to children placed at congregate facilities in which detainees or

24
           staff have tested positive for COVID-19, the specific reason they have not

25
           been released or transferred to a non-congregate setting.

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 1
     9)    Policies and practices aimed at identifying and protecting children, such as
 2         those with diabetes or cancer, at heightened risk of serious illness or death
 3         should they contract COVID-19.
 4   10)   Any reports and recommendations of state or local health or licensing
 5         agencies issued in response to the outbreak of COVID-19 infection among
 6         children or staff at congregate ORR facilities.
 7         As of this writing, Plaintiffs’ request remains under submission.
 8
           Defendants’ Position: Plaintiffs have provided multiple (sometimes
 9
     conflicting) lists containing numerous demands for information that they contend
10
     should be provided to individual counsel for class members who have a Form G-28
11
     on file (a Form G-28 reflects that counsel’s representation of the minor in
12
     immigration proceedings). Despite multiple requests from Defendants, Plaintiffs’
13
     counsel have declined to explain how they believe these requests are related to any
14
     requirements under the Flores Settlement Agreement (“Agreement”). Given that the
15
     Agreement does not address the provision of information to individual immigration
16
     counsel for class members, it is Defendants’ position that Plaintiffs’ assertions that
17
     such information should nonetheless be provided are not properly addressed in the
18
     context of this case, nor the pending litigation.
19         Nonetheless, for the Court’s awareness, Defendants provide the following
20   explanation regarding how information may be provided to individual counsel for
21   class members with a valid G-28 on file. Defendants note that they have asked
22   Plaintiffs’ counsel for examples of situations where the processes described below
23   have not worked or have not been followed, and counsel for Plaintiffs declined to
24   provide any such examples.
25   Information regarding class members in an ICE FRC:
26         General Information: There are multiple, well-established means by which
     an attorney or representative, either providing a Form G-28 or having previously
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 1
     filed a Form G-28, can obtain the information to which they are entitled. Attorneys
 2
     have access to information about their client via the central telephone number posted
 3
     publicly on ICE’s website, as well as, through the assigned docket officers. By
 4
     contacting the publicly posted telephone number for the facilities, attorneys and
 5
     representatives can also obtain additional telephone contact information, group
 6
     email-box contact information, fax number contact information, and written
 7
     correspondence contact information. 1
 8
            Medical Information: The publicly available Family Residential Standards,2
 9
     which have been in place since 2009, provide the process for a resident, or any
10
     person designated by the resident, to obtain medical records and information, as
11
     follows:
12
            21.b. Confidentiality and Release of Medical Records. All medical providers
13
            shall protect the privacy of resident's medical information to the extent
14          possible, while permitting the exchange of health information required to
            fulfill program responsibilities and to provide for the well-being of residents.
15
            These protections apply not only to records maintained on paper, but also to
16          electronic records. In general, information about resident's health status is
            confidential, and the active medical record shall be maintained separately
17
            from other residential records and be accessible in accordance with sound
18          medical practice and applicable laws . . . . When information is covered by
            the Health Information Privacy Act (HIPA), specific legal restrictions govern
19
            the release of medical information or records. Copies of health records may
20          be released by the facility health care provider directly to a resident or any
            person designated by the resident, upon receipt by the facility health care
21
            provider of a written authorization from the resident. Form 1-813 may be used
22          for this purpose.
23

24
     1
25     https://www.ice.gov/detention-facility/south-texas-family-residential-center
     https://www.ice.gov/detention-facility/karnes-county-residential-center
26   https://www.ice.gov/detention-facility/berks-family-residential-center
     2
        https://www.ice.gov/detention-standards/family-residential
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 1
     Information regarding class members in ORR custody:
 2
           ORR is not aware of any situations an attorneys of record has requested
 3
     COVID-19 information, the unaccompanied minor agrees that such information
 4
     should be shared, and programs are failing to provide the information.
 5
           ORR policy protects the confidentiality of medical information. Under section
 6
     3.4.7 of the ORR Policy Guide, a care provider must have written policies,
 7
     procedures, and practices that protect the confidentiality of medical information. To
 8
     safeguard children’s privacy, care providers must use discretion when
 9
     communicating with an unaccompanied alien child about medical appointments in
10
     the presence of others. Care provider staff also must dispense medication in a private
11
     location. Similarly, medical disclosure to staff about a child’s health condition
12
     should be determined by the Program Director on a need-to-know basis.
13
     https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
14
     unaccompanied-section-3#3.4.
15
           In addition, ORR maintains a contract with the Vera Institute of Justice. Vera
16
     Institute of Justice, in turn, subcontracts with non-profit legal service providers, who
17
     offer “Know Your Rights” presentations and legal screenings for all children in care,
18
     to determine if the children are eligible for immigration relief. The legal service
19   provider may also coordinate a referral to a pro bono attorney to provide legal
20   representation, and in some cases ORR funds direct representation. See e.g.,
21   https://www.acf.hhs.gov/sites/default/files/orr/english_legal_service_providers_gui
22   de_with_form_508.pdf. When conducting legal screenings or Know Your Rights
23   presentations, legal service providers are not acting as the attorney of record to the
24   minor.
25         ORR’s contracting representative has periodic teleconferences with the Vera
26   Institute of Justice, as well as near-daily contact. During the teleconferences, Vera
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 1
     staff are provided updates and have the opportunity to ask questions or offer
 2
     comments. Vera also has access to the UAC Portal page containing a full list of
 3
     COVID-19 field guidance provided to care providers. If legal service providers have
 4
     information about attorneys of record not receiving medical information, they may
 5
     contact Vera, which can relay such concerns in the regular teleconferences, or if
 6
     needed, through the day-to-day contacts with the Contracting Officer.
 7

 8
        (2) The quality of the data that Defendants provide to Class Counsel pursuant to
            Paragraph 28A of the FSA
 9
           Plaintiffs’ Position:
10
           Time has not permitted the Parties to meet and confer regarding this subject.
11
     Plaintiffs remain willing to do so in the near future.
12
           Defendants’ Position: Defendants dispute that this issue is raised in
13
     Plaintiffs’ pending TRO, and it is Defendants’ position that it is necessary and
14
     preferable to resolve the issues that Plaintiffs have raised regarding the Paragraph
15
     28A data outside the context of the pending TRO. Defendants discussed this issue
16
     multiple times prior to the filing of Plaintiffs’ TRO with counsel for Plaintiffs and
17
     with the Monitor, Andrea Ordin, as well as with Dr. Paul Wise. Defendants had
18
     previously expressed their willingness to continue these discussions. Defendants
19
     disagree with the majority of Plaintiffs’ assertions regarding the data that is being
20   provided, but continue to agree that the best resolution of this issue would be for the
21   parties to meet and confer. As Defendants explained to counsel for Plaintiffs,
22   Defendants believe that an in person meeting which includes Defendants’ data
23   operators from each of the three applicable agencies and agency components would
24   be the most effective way to move forward, and Defendants were working to
25   schedule that meeting before the COVID-19 pandemic interrupted that planning. In
26   light of the fact that travel limitations due to the COVID-19 pandemic have made an
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 1
      in-person meeting impractical, Defendants have proposed that the parties meet by
 2
      phone on May 1, 2020.
 3
            In the interim, Defendants continue to provide updated data to Plaintiffs on a
 4
      monthly basis. As highlighted in the Juvenile Coordinator Report provided to the
 5
      Special Monitor, some of Plaintiffs’ allegations about the data are based on
 6
      erroneous interpretations of the contents of the report which the parties can clarify
 7
      at a meeting with operators.
 8

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                                     #:37390


 1    DATED: April 23, 2020             /s/Carlos Holguin (with permission)
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 3                                      CONSTITUTIONAL LAW
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                                        Carlos Holguín
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 1                              CERTIFICATE OF SERVICE
 2

 3
            I hereby certify that on April 23, 2020, I served the foregoing pleading on all

 4    counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
      system.
 6

 7
                                                   /s/ Sarah B. Fabian
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                                                   U.S. Department of Justice
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